Case 3:17-cv-01840-B Document8 Filed 08/18/17 Pagelofi1 PagelD 149

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

CLAY COCKERELL and §
COCKERELL DERMATOPATHOLOGY, §
PA, §
§
Plaintiffs, §

§ CIVIL ACTION NO, 3:17-CV-1840-B
v. §
§
CBS NEWS INC; JIM AXELROD; and §
EMILY RAND, §
§
Defendants. §

AGREED ORDER OF DISMISSAL
By agreement of the parties, Plaintiffs request to dismiss their claims and causes of action
against Defendants with prejudice. It is, therefore,
ORDERED that Plaintiffs’ claims and causes of action are hereby dismissed with prejudice

against the Defendants, with all parties bearing their own costs, expenses, and attorneys’ fees.

Mag (8,207 Maes, .

UN DSPATES DISTRICT JUDGE
